Case 17-12669-BFK         Doc 57    Filed 08/30/18 Entered 08/30/18 13:19:25          Desc Main
                                   Document      Page 1 of 19


                IN THE UNITED STATES BANKRUPTCY COURT
                  FOR THE EASTERN DISTRICT OF VIRGINIA
                           ALEXANDRIA DIVISION
__________________________________________
                                           )
IN RE:                                    )
                                          )
ALANS CORNER, LLC                         )  Case No. 17-12669-BFK
                                           ) Chapter 7
       Debtor                              )
__________________________________________)

                         TRUSTEE’S MOTION FOR APPROVAL OF
                       SETTLEMENT OF ADVERSARY PROCEEDING

          Janet M. Meiburger, Chapter 7 Trustee, by her undersigned counsel, hereby moves,

pursuant to Fed. R. Bankr. P. 9019, for approval of the settlement she has reached with

Discovery Station, LLC, KinderCare Education, LLC and the United States Small Business

Administration. This settlement resolves Adversary Proceeding No. 17-01132 against Discovery

Station, LLC (the “Adversary Proceeding”). In support of this Motion, the Trustee states as

follows:

          1.     On August 3, 2017 (the “Petition Date”), Alans Corner, LLC (the “Debtor”) filed

a voluntary petition for relief under Chapter 7 of the Bankruptcy Code. Janet M. Meiburger was

duly appointed as Chapter 7 Trustee on August 4, 2017 and she continues to serve in that

capacity.

     1.         On December 11, 2017, the Trustee filed the Adversary Proceeding against

Discovery Station, LLC (“Discovery Station”). The Complaint in the Adversary Proceeding

alleged that on May 15, 2009, Discovery Station entered into a lease (the “Lease”) to occupy the

property owned by the Debtor located at 43184 Town Hall Plaza, Chantilly, Virginia 20152 (the
___________________________________
Janet M. Meiburger, VA Bar No. 31842
The Meiburger Law Firm, P.C.
1493 Chain Bridge Road, Suite 201
McLean, VA 22101
(703) 556-7871
Counsel for Chapter 7 Trustee
Case 17-12669-BFK        Doc 57     Filed 08/30/18 Entered 08/30/18 13:19:25             Desc Main
                                   Document      Page 2 of 19


“Property”); that Discovery Station operated a child care center at the Property; and that

Discovery Station was in default under the Lease for nonpayment of rent. The Complaint sought

a judgment for the unpaid rent and to obtain possession of the Property.

     2.        Discovery Station did not respond to the Complaint. A default judgment was

entered against Discovery Station on April 17, 2018, as to both the turnover of possession and

the unpaid, but was not reduced to a money judgment for the unpaid rent, on which the Trustee

could commence collection.

     3.        Subsequently, the Trustee filed a motion for entry of a money judgment against

Discovery Station in the amount of $344,072.97, which is the minimum amount that the Trustee

could determine to be owed in unpaid rent. This motion is pending.

     4.        In the meantime, the Trustee listed the Property for sale, and on May 3, 2018, an

order was entered approving the sale of the Property (Docket No. 54). In connection with the

sale, the Trustee also obtained approval to reject the Lease (Docket No. 52). The sale went to

closing on July 20, 2018, and a Report of Sale was filed on August 16, 2018 (Docket No. 56).

     5.        Discovery Station vacated the Property prior to the closing on the sale, and the

Property is now occupied by KinderCare Education, LLC (“KinderCare”).

     6.        In connection with the sale, Discovery Station and KinderCare negotiated an asset

purchase agreement which provided for KinderCare to pay $35,000.00 for certain assets of

Discovery Station. However, the United States Small Business Administration (“SBA”) held a

lien on those assets.

     7.        Under the terms of the settlement, Discovery Station will sell the assets to

KinderCare for $35,000.00; the SBA will release its lien for $5,000.00 of the proceeds; and the

remaining $30,000.00 is to be paid to the bankruptcy estate to settle the Adversary Proceeding.




                                                 2
Case 17-12669-BFK         Doc 57      Filed 08/30/18 Entered 08/30/18 13:19:25                 Desc Main
                                     Document      Page 3 of 19


The terms of the sale and the settlement are incorporated into the Asset Purchase Agreement

which is attached as Exhibit A.

     8.         Once the $30,000.00 payment is received, the Adversary Proceeding will be

dismissed with prejudice.

     9.         The legal standard for determining the propriety of a bankruptcy settlement is

whether the proposed settlement is fair and equitable. “[T]he court is to consider the probability

of the trustee’s success in any ensuing litigation, any collection difficulties, the complexity, time

and expense of the litigation, and the interests of creditors with proper deference to their

reasonable views.” In re Austin, 186 B.R. 397, 400 (Bankr. E.D. Va. 1995). The Trustee

believes that the settlement is in the best interest of creditors because it reflects a fair

compromise given the difficulty of collecting any judgment from Discover Station, which is now

out of business, and it makes it unnecessary to incur additional expenses for the pursuit of the

Adversary Proceeding.

          WHEREFORE, Janet M. Meiburger, Chapter 7 Trustee, by counsel, hereby respectfully

requests that the Court enter an order approving the settlement of Adversary Proceeding No. 17-

01132, as described herein, and granting such other and further relief as the Court deems

appropriate under the circumstances.

                                                Respectfully submitted,

                                                The Meiburger Law Firm, P.C.

Dated: August 30, 2018                          By: /s/ Janet M. Meiburger
                                                        Janet M. Meiburger (VSB No. 31842)
                                                        The Meiburger Law Firm, P.C.
                                                        1493 Chain Bridge Road, Suite 201
                                                        McLean, VA 22101
                                                        (703) 556-7871
                                                        Counsel for Chapter 7 Trustee




                                                    3
Case 17-12669-BFK            Doc 57        Filed 08/30/18 Entered 08/30/18 13:19:25                              Desc Main
                                          Document      Page 4 of 19


                                       CERTIFICATE OF SERVICE

       I HEREBY certify that on this 30th day of August, 2018, a true and correct copy of the

foregoing Trustee’s Motion for Approval of Settlement of Adversary Proceeding will be served

by ECF e-mail pursuant to the applicable Standing Order of the Court, and by first class mail,

postage prepaid, without this certificate of service, on the following, and that a true and correct

copy (without this certificate of service) will be served by BK Attorney Services, LLC d/b/a

certificateofservice.com to the attached list.

       William Harville, Esq.
       327 W. Main Street, #3
       Charlottesville, VA 22903
       Counsel to Discovery Station, LLC

       Justin Cabrera, Esq.
       Lane Powell PC
       601 SW Second Avenue, Suite 2100
       Portland, OR 97204
       Counsel to KinderCare Education, LLC




                                                         /s/ Janet M. Meiburger
                                                         Janet M. Meiburger




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                                                               LLC       Entered 08/30/18 13:19:25       Desc
                                                                                          County of Loudoun, VA Main
0422-1                                               Document
                                                 5484 Rodriguez Lane  Page 5 of 19        c/o Belkys Escobar
Case 17-12669-BFK                                    Haymarket, VA 20169-6102                             One Harrison St. SE, (MSC #06)
Eastern District of Virginia                                                                              Leesburg, VA 20175-3102
Alexandria
Thu Aug 30 12:31:03 EDT 2018
EagleBank                                            The Meiburger Law Firm PC                            Treasurer, County of Loudoun, Virginia
c/o Benjamin P. Smith                                1493 Chain Bridge Road                               Attention: Collections/Bankrupty Div.
Shulman, Rogers, Gandal, Pordy & Ecker               Suite 201                                            P O Box 347 (MSC #31)
12505 Park Potomac Ave, 6th Floor                    McLean, VA 22101-5726                                Leesburg, VA 20178-0347
Potomac, MD 20854-6803

United States Bankruptcy Court                       Alan D. Berlin                                       Business Finance Group
200 South Washington Street                          5484 Rodriguez Lane                                  3930 Pender Drive #300
Alexandria, VA 22314-5405                            Haymarket, VA 20169-6102                             Fairfax, VA 22030-0986



Carolyn H. Berlin                                    Discovery Station LLC                                Eagle Bank
5484 Rodriguez Lane                                  5313 Kernstown Ct.                                   7830 Old Georgetown Road
Haymarket, VA 20169-6102                             Haymarket, VA 20169-4504                             3rd Floor
                                                                                                          Bethesda, MD 20814-2432


EagleBank                                            Mark Albanese, Esq                                   Shulman & Rogers
c/o Benjamin P. Smith, Esq.                          4041 University Drive                                12505 Park Potomac Ave
Shulman Rogers Gandal Pordy & Ecker, PA              Suite 301                                            6th Floor
12505 Park Potomac Ave, 6th Floor                    Fairfax, VA 22030-3410                               Potomac, MD 20854-6803
Potomac MD 20854-6803

Treasurer, County of Loudoun, Virginia               U.S. Small Business Admin.                           US Small Business Administration
Attention: Collections/Bankruptcy Div.               409 3rd Street SW                                    409 3rd Street SW 2d Floor
P O BOX 347 (MSC #31)                                Washington, DC 20416-0005                            Washington DC 20416-0005
Leesburg, Virginia 20178-0347


Barry Strickland                                     Janet M. Meiburger                                   John Paul Goetz
Barry Srickland & Co., CPA                           The Meiburger Law Firm, P.C.                         John Goetz Law, PLC
P.O. Box 9228                                        1493 Chain Bridge Road, Suite 201                    86 W. Shirley Avenue
Richmond, VA 23227-0228                              McLean, VA 22101-5726                                Warrenton, VA 20186-3008


Judy A. Robbins
Office of the U.S. Trustee - Region 4
115 South Union Street, Room 210
Alexandria, VA 22314-3361




                 The following recipients may be/have been bypassed for notice due to an undeliverable (u) or duplicate (d) address.


(u)United States of America                          (d)Carolyn H Berlin                                  (u)Stephen Karbelk
                                                     5484 Rodriguez Lane                                  Century 21 New Millennium
                                                     Haymarket, VA 20169-6102
               Case
End of Label Matrix   17-12669-BFK   Doc 57    Filed 08/30/18 Entered 08/30/18 13:19:25   Desc Main
Mailable recipients   21                      Document      Page 6 of 19
Bypassed recipients    3
Total                 24
Case 17-12669-BFK   Doc 57    Filed 08/30/18 Entered 08/30/18 13:19:25   Desc Main
                             Document      Page 7 of 19




                    EXHIBIT A
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            Case 17-12669-BFK           Doc 57      Filed 08/30/18 Entered 08/30/18 13:19:25   Desc Main
                                                   Document      Page 8 of 19
DocuSign Envelope ID: 7D554AD1-C085-43DD-8C61-3396F99F3256
            Case 17-12669-BFK           Doc 57      Filed 08/30/18 Entered 08/30/18 13:19:25   Desc Main
                                                   Document      Page 9 of 19
DocuSign Envelope ID: 7D554AD1-C085-43DD-8C61-3396F99F3256
            Case 17-12669-BFK           Doc 57     Filed 08/30/18 Entered 08/30/18 13:19:25   Desc Main
                                                  Document     Page 10 of 19
DocuSign Envelope ID: 7D554AD1-C085-43DD-8C61-3396F99F3256
            Case 17-12669-BFK           Doc 57     Filed 08/30/18 Entered 08/30/18 13:19:25   Desc Main
                                                  Document     Page 11 of 19
DocuSign Envelope ID: 7D554AD1-C085-43DD-8C61-3396F99F3256
            Case 17-12669-BFK           Doc 57     Filed 08/30/18 Entered 08/30/18 13:19:25   Desc Main
                                                  Document     Page 12 of 19
DocuSign Envelope ID: 7D554AD1-C085-43DD-8C61-3396F99F3256
            Case 17-12669-BFK           Doc 57     Filed 08/30/18 Entered 08/30/18 13:19:25   Desc Main
                                                  Document     Page 13 of 19
DocuSign Envelope ID: 7D554AD1-C085-43DD-8C61-3396F99F3256
            Case 17-12669-BFK           Doc 57     Filed 08/30/18 Entered 08/30/18 13:19:25   Desc Main
                                                  Document     Page 14 of 19
DocuSign Envelope ID: 7D554AD1-C085-43DD-8C61-3396F99F3256
            Case 17-12669-BFK           Doc 57     Filed 08/30/18 Entered 08/30/18 13:19:25   Desc Main
                                                  Document     Page 15 of 19
DocuSign Envelope ID: 7D554AD1-C085-43DD-8C61-3396F99F3256
            Case 17-12669-BFK           Doc 57     Filed 08/30/18 Entered 08/30/18 13:19:25   Desc Main
                                                  Document     Page 16 of 19




                                                                Lee C Berlin
                                                                   CEO
                                                                    8/22/18
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            Case 17-12669-BFK           Doc 57     Filed 08/30/18 Entered 08/30/18 13:19:25   Desc Main
                                                  Document     Page 17 of 19
DocuSign Envelope ID: 7D554AD1-C085-43DD-8C61-3396F99F3256
            Case 17-12669-BFK           Doc 57     Filed 08/30/18 Entered 08/30/18 13:19:25   Desc Main
                                                  Document     Page 18 of 19
DocuSign Envelope ID: 7D554AD1-C085-43DD-8C61-3396F99F3256
            Case 17-12669-BFK           Doc 57     Filed 08/30/18 Entered 08/30/18 13:19:25   Desc Main
                                                  Document     Page 19 of 19




                                                                   Lee C Berlin
                                                                      CEO
